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1    CENTER FOR DISABILITY ACCESS
     Raymond Ballister Jr., Esq., SBN 111282
2    Russell Handy, Esq., SBN 195058
3    Dennis Price, Esq., SBN 279082
     8033 Linda Vista Road, Suite 200
4    San Diego, CA 92111
     (858) 375-7385; (888) 422-5191 fax
5    amandas@potterhandy.com
6    Attorneys for Plaintiff NEHEMIAH KONG

7
8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA

10   NEHEMIAH KONG,                    )         Case No.: 2:20-CV-11423-GW-AS
                                       )
11                  Plaintiff,         )         NOTICE OF SETTLEMENT AND
                                       )         REQUEST TO VACATE ALL
12                                     )         CURRENTLY SET DATES
           v.                          )
13                                     )
     YEAGER FAMILY LIMITED             )
14   PARTNERSHIP, a California Limited )
                                       )
15   Partnership; and Does 1-10,       )
                                       )
16                  Defendants.        )
                                       )
17
18         The plaintiff hereby notifies the court that a provisional settlement has been
19   reached in the above-captioned case. The Parties would like to avoid any additional
20   expense while they focus efforts on finalizing the terms of the settlement and reducing
21   it to a writing.
22          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
23   dates with the expectation that the settlement will be consummated within the coming
24   sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
25   parties to be filed.
26                                          CENTER FOR DISABILITY ACCESS
27   Dated: January 26, 2021                By :   /s/Amanda Seabock
                                                   Amanda Seabock
28                                                 Attorney for Plaintiff

     Notice of Settlement                  -1-                  2:20-CV-11423-GW-AS
